


  PER CURIAM.
 

  Following this court’s recent decision in
  
   Montgomery v. State,
  
  - So.3d -, 2009 WL 850624 (Fla. 1st DCA 2009),
  
   rev. granted State v. Montgomery,
  
  11 So.3d 943 (Fla.2009), the trial court committed fundamental error by giving the standard jury instruction for attempted manslaughter by act, which adds the additional element that the defendant “committed an act intended to cause the death” of the victim when attempted manslaughter by act requires only an intentional unlawful act.
 

  REVERSED and REMANDED.
 

  BARFIELD, KAHN, and VAN NORTWICK, JJ., concur.
 
